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                 Exhibit 4
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                                                                                                                                                     Date Filed: 05/13/2021
   Fill in this information to identify the case:                                                                                                    Claim No: 211

   Debtor:                                                                                  Case Number:

     Brazos Electric Power Cooperative, Inc.                                                             21-30725
   United States Bankruptcy Court for the Southern District of Texas




    Proof of Claim                                                                                                                                                 04/19

    Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
    make a request for payment of an administrativ e expense. Make such a request according to 11 U.S.C. § 503.
    Filers must leav e out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
    documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
    mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
    explain in an attachment.
    A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

    Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

    Part 1:    Identify the Claim

   1. Who is the current           OU 2 LLC
      creditor?
                                   Name of the current creditor (the person or entity to be paid for this claim)

                                   Other names the creditor used with the debtor

   2. Has this claim been
       acquired from
                                      No              Mercuria Energy America, LLC
       someone else?              
                                  X    Yes. From whom? (formerly Mercuria Energy America, Inc.)

   3. Where should notices         Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
      and payments to the                                                                                      different)
      creditor be sent?           Amini LLC                                                                    OU 2 LLC
      Federal Rule of             Attn: Jeffrey Chubak                                                         c/o Cohanzick Management, LLC
      Bankruptc y Proce dure                                                                                   Attn: David K. Sherman
      (FRBP) 2002(g)               Name                                                                        Name
                                   131 West 35th Street                                                            427 Bedford Road
                                   12th Floor                                                                      Suite 230




                                   Street Address                                                              Street Address
                                    New York                          NY                    10001                   Pleasantville            NY                   10570

                                   City                               State                   ZIP Code         City                          State                 ZIP Code

                                                    (212) 497-8247                                                                 (914) 741-9600
                                   Contact phone                                                               Contact phone
                                                    jchubak@aminillc.com                                                           david@cohanzick.com
                                   Contact email                                                                   Contact email


   4. Does this claim amend       
                                  X    No
       one already filed?             Yes. Claim number on court claims registry (if known)                                            Filed on
                                                                                                                                                   MM   /   DD   / YYYY


   5. Do you know if anyone       
                                  X    No
       else has filed a proof         Yes. Who made the earlier filing?
       of claim for this claim?




                                                                         1155605132130000000013
                                                                            Proof of Claim                                                                                page 1
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    Part 2:    Give Information About the Claim as of the Date the Case Was Filed

   6. Do you hav e any number X No
       you use to identify the   Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
       debtor?


                                          875,000.00
   7. How much is the claim?          $                                       . Does this amount include interest or other charges?
                                                                                
                                                                                X No
                                                                                 Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                        charges required by Bankruptcy Rule 3001(c)(2)(A).


   8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
      claim?
                                    Non-tort claimants should attach redacted copies of any documents supporting the claim required by Bankruptcy Rule
                                    3001(c). Tort claimants should attach a signed statement setting forth a basis for the claim and nature of the injury.
                                    Limit disclosing information that is entitled to privacy, such as health care information.
                                    Natural gas sold



                                    If you are asserting a claim based on a tort, select one or more of the below options:
                                     Property Damage (homes, structures, personal property, and all other property damage)
                                         Owner Renter Occupant Other (Please specify): ____
                                    Personal Injury
                                    Other (Please specify): ______________________________________________

   9. Is all or part of the claim   X No
                                    
      secured?                       Yes.   The claim is secured by a lien on property.
                                              Nature of property:
                                               Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                Attachment (Official Form 410-A) with this Proof of Claim.
                                                 Motor vehicle
                                                 Other. Descri be:



                                              Basis for perfection:
                                              Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                              example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                              been filed or recorded.)



                                              Value of property:                            $
                                              Amount of the claim that is secured:          $

                                              Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                      amounts should match the amount in line 7.)



                                              Amount necessary to cure any default as of the date of the petition:               $



                                              Annual Interest Rate (when case was filed)              %
                                                 Fixed
                                                 Variable



   10. Is this claim based on a     
                                    X No
       lease?
                                     Yes. Amount necessary to cure any default as of the date of the petition.                  $




                                                                       Proof of Claim                                                                       page 2
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   11. Is this claim subj ect to a      
                                        X No
       right of setoff?
                                         Yes. Identify the property:




   12. Is all or part of the claim       No
       entitled to priority under       
                                        X Yes. Check all that apply:                                                                                  Amount entitled to priority
       11 U.S.C. § 507(a)?                 Domestic support obligations (including alimony and child support) under                                      0.00
                                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
       A claim may be partly
       priority and partly                    Up to $3,025* of deposits toward purchase, lease, or rental of property or services for                    0.00
       nonpri o ri ty. For exam pl e,          personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
       in some categories, the
       law limits the amount                  Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the                         0.00
                                               bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
       entitled to priority.
                                               11 U.S.C. § 507(a)(4).
                                                                                                                                                          0.00
                                              Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $
                                                                                                                                                         0.00
                                              Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $
                                                                                                                                                          875,000.00
                                           
                                           X   Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies.                                      $

                                           * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.




                                                                             Proof of Claim                                                                                  page 3
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    Part 3:      Sign Below

    The person completing              Check the appropriate box:
    this proof of claim must
    sign and date it.                          I am the creditor.
    FRBP 9011(b).                      X       I am the creditor’s attorney or authorized agent.
    If you file this claim                     I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
    electroni c all y , FRBP 5005(a)           I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
    (2) authorizes courts to
    establish local rules
    specifying what a signature        I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
    is.                                amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
    A person w ho files a
                                       I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
    fraudulent claim could be          and correct.
    fined up to $500,000,
    imprisoned for up to 5
    years, or both.                    I declare under penalty of perjury that the foregoing is true and correct.
    18 U.S.C. §§ 152, 157, and                                5/13/2021
    3571.                              Executed on date
                                                              MM /    DD   / YYYY




                                               Signature

                                       Print the name of the person w ho is completing and signing this claim:

                                                            Jeffrey Chubak
                                       Name
                                                             First name                           Middle name                            Last name

                                       Title
                                                            Amini LLC
                                       Company
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.
                                                             131 West 35th Street
                                                             12th Floor
                                       Address
                                                             Number            Street
                                                              New York                                                  NY             10001
                                                             City                                                         State           ZIP Code
                                                                     (212) 497-8247                                                       jchubak@aminillc.com
                                       Contact phone                                                                      Email


               I have supporting documents to upload




                                                                                Proof of Claim                                                                   page 4
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                                              Base Contract for Sale and Purchase of Natural Gas
                                                 This Base Contract is entered into as of the following date: August 19, 2016.
                                                                      The parties to this Base Contract are the following:


                                               PARTY A                                                                                            PARTY B
                                                                                              PARTY NAME
                          Brazos Electric Power Cooperative, Inc,                                                                  Mercuria Energy America, Inc.
                               7616 Bagby Ave, Waco, TX 76712                                                                      20 East Greenway Plaza, Suite 650
                                                                                               ADDRESS                                   Houston, Texas 77046
                                                                                                                                        Attn : LeQal Department
              www.brazoselectric .com                                                     BUSINESS WEBSITE       www.mercuria.com

                                                                                          CONTRACT NUMBER
              00377- 2290                                                                  D-U-N-S® NUMBER        83- 1749127

              •
              0
                   us FEDERAL :
                   OTHER:
                                        XX-XXXXXXX
                                                                                           TAX ID NUMBERS
                                                                                                                 •
                                                                                                                 0
                                                                                                                     US FEDERAL:
                                                                                                                     OTHER :
                                                                                                                                              XX-XXXXXXX


              Texas                                                                        JURISDICTION OF       Delaware
                                                                                             ORGANIZA TlON
              0    Corporation                    0     LLC
                                                                                            COMPANY TYPE
                                                                                                                 •   Corporation                     0     LLC
              0   Limited Partnership             0     Partnership                                              u   Limited Partnership             L     Partnership
              0   LLP                             •    Other: Coooerative
                                                                                               GUARANTOR
                                                                                                                 0   LLP                             [     Other:
                                                                                                                 Mercuria Energy Group Limited
                                                                                            (IF APPLICABLE)

                                                                                   CONTACT INFORMATION
              Brazos Electric Power Coo/J.erative Inc                                                            20 East   Greenwa~   Plaza Suite 650 Houston TX 77046
              ATTN:     Vice President of Power SU/J./J./-r.                             • COMMERCIAL            ATTN:     Jeff Schneider
              TEL#:     254-750-6500         FAX#:     254-750-6367                                              TEL#:     (832) 531-7630            FAX#:       (832) 209-2401
              EMAIL :                                                                                            EMAIL: Jschneider@mercuria.com

                                                                                                                 20 East   Greenwa~   Plaza Suite 650 Houston TX 77046
              ACES 4140 W 99 St. Carmel IN 46032
                                                                                                                 ATTN:     East -Gas Scheduling (Joe Casas)
              ATTN:     Gas Trading (ACES)
                                                                                         • SCHEDULING            TEL#:     ((832) 531-7565           FAX#:       (832) 209-2401
              TEL#:     317-344-7230         FAX#:     317-344-7010
                                                                                                                 EMAIL:     jcasas@mercuna.com
              EMAIL:

              Brazos Electric Power c.oo/J.~rative Inc.                                                          20 East Greenway Plaza, Suite 650 Houston TX 77046
              ATTN:     Vice President of Power SU/J./J.I-r.                             • CONTRACT AND          ATTN:     Contract Administration
                                                                                           LEGAL NOTICES
              TEL#:     254-750-6500         FAX#:     254-750-6367                                              TEL#:     (832) 209-2391                FAX#: (832) 209-2401
              EMAIL:                                                                                             EMAIL: mflores@mercuria .com
              ACES 4140 W99 SI. Carmel IN 46032                                                                  20 East   Greenwa~   Plaza Suite 650 Houston TX 77046
              ATTN:     Director of Credit (ACES!                                                                ATTN:     Credit Degartment (Jason Sohmer)
                                                                                         • CREDIT
              TEL#:     317-344-7000         FAX#:     317-344-7001                                              TEL#:     (832) 209-2462            FAX#:       (832) 209-2401
              EMAIL:                                                                                             EMAIL:     ·sohmnerllJ)mercuria.com

              ACES 4140 W99 SI. Carmel IN 46032                                                                  20 East Greenway Plaza, Suite 650 Houston TX 77046
              ATTN:     Trading Control                                                  • TRANSACTION           A TTN: Physical Confirmations
              TEL#:     317-344-7000         FAX#:     317-344-7099                        CONFIRMA TlONS        TEL#:     (832) 209-2495            FAX#:       (832) 209-2421
              EMAIL:                                                                                             EMAIL : ghysconfirmsna@mercuria.com

                                                                                ACCOUNTING INFORMATION
              Brazos Electric Power Coo/J.erative Inc                                                            20 East Greenway Plaza Suite 650 Houston TX 77046
                                                                                         • INVOICES
              ATTN:     General Accounting Sugervisor                                                            ATTN:     Physical Settlements
                                                                                         • PAYMENTS
              TEL#:     254-750-6500              FAX#:        254-750-6229                                      TEL#:     (832) 209-2494            FAX#:       (832) 209-2401
                                                                                         • SETTLEMENTS
              EMAIL :                                                                                            EMAIL: ghyssettlementsna@mercuria.com
                                                                                                                 BANK: Bank of America
              BANK: Bank of America Dallas TX                                              WIRE TRANSFER         One Bryant Park NY1-100-34-05 New York NY 10036
              ABA:  026009593 ACCT: 004770496398                                               NUMBERS           ABA:    026009593 ACCT: 4451085942
              OTHER DETAILS:                                                               (IF APPLICABLE)       OTHER DETAILS:              SWIFT: BOFAUS6S


              BANK:                                                                         ACHNUMBERS           BANK:
              ABA:                                ACCT:                                                          ABA:                              ACCT:
                                                                                           (IF APPLICABLE)
              OTHER DETAILS:                                                                                     OTHER DETAILS:

              ATTN:                                                                                              ATTN:
                                                                                               CHECKS
              ADDRESS:                                                                                           ADDRESS:
                                                                                           (IF APPLICABLE)



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                                                   Base Contract for Sale and Purchase of Natural Gas
                                                                                      (Continued)

               This Base Contract incorporates by reference for all purposes the General Tenns and Conditions for Sale and Purchase of Natural Gas
               published by the North American Energy Standards Board. The parties hereby agree to the following provisions offered in said General
               Tenns and Conditions. In the event the parties fail to check a box, the specified defau~ provision shall apply. Select the appropriate box(es}
               from each section '

            Section 1.2
            Transaclion
                               •
                               OR
                                         Oral (default)                                      Section 10.2
                                                                                             Addilional
                                                                                                               0        No Addillonal Evenls of Default (default)

            Procedure          0         Written                                             Events of         •        Indebtedness Cross Default

            Section 2.7        0         2 Business Days after receipt (default)
                                                                                             Default
                                                                                                                       •     Party A: $40 million
            Confirm Deadline   OR
                               •         1 Business Days after receipt                                                 •    Party B:Wlth Respect 10 Party B or lis Guarantor
                                                                                                                       $40 million

                                                                                                                   0   Transaclional Cross Default
                                                                                                                       Specified Transaclions:
            Section 2.8
            Confirming Party
                               •OR       Seller (default)

                               0         Buyer
                               0


            Section 3.2
            Performance
                               •OR       Cover Standard (default)                            Section 10.3.1
                                                                                             Early
                                                                                                               •       Early Termlnalion Damages Apply (default)

            Obligalion         0         Spot Price Siandard                                 Terminalion    OR
                                                                                             Damages
                                                                                                               0       Early Termination Damages Do Not Apply

           Note: The following Spot Price Publication applies to both of the
           Immedlatelv preceding.                                                            Section 10.3.2
                                                                                             Olher
                                                                                                               •       Other Agreement Setoffs Apply (default)

           Section 2.31
           Spot Price
                                   •
                                   OR
                                           Gas Daily Midpoinl (default)                      Agreement
                                                                                             Setoffs
                                                                                                                            •
                                                                                                                            0
                                                                                                                                       Bilateral (default)
                                                                                                                                       Triangular
           Publicalion             0                                                                           OR

                                                                                                               0       Olher Agreement Setoffs Do Not Apply

           Section 6
           Taxes
                                   •
                                   OR
                                          Buyer Pays At and After Delivery Point (default)

                                   0     Seller Pays Before and At Delivery Point



           Section 7.2
           Payment Date
                                   •      25'" Day of Month following Month of delivery
                                               (default)
                                                                                             Section 15.5
                                                                                             Choice Of Law
                                                                                                               Texas
                                   OR
                                   0     Day of Monlh following Monlh of deliverv

           Section 7.2
           Method of Payment
                                   •
                                   0
                                          Wire transfer (default)
                                          Automated Clearinghouse Credit (ACH)
                                                                                             Section 15.10
                                                                                             Confidentiality
                                                                                                               •
                                                                                                               OR
                                                                                                                       Confidenliality applies (default)

                                   0     Check                                                                 0       Confidentiality does not apply

           Section 7.7
           Netting
                                   •OR    Netting applies (default)

                               0   NeUinQ does not apply
           • Special Provisions Number of sheets attached:            Six (5)
           o Addendum(s):

                                                    parties hereto have executed this Base Contract in duplicate.
                                                                                          PARTY NAME                            Mercurla Energy America, Inc.


                                                                                          SIGNATURE




                                                                                        PRINTED NAME

                                                                                             TITLE




                                                                 General Terms and Conditions
              Copyright © 2006 North American Energy Standards Board, Inc.                                                                          NAESB Standard 6.3.1
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                                        Base Contract for Sale and Purchase of Natural Gas

           SECTION 1.                PURPOSE AND PROCEDURES
           1.1 .         These General Terms and Conditions are intended to facilitate purchase and sale transactions of Gas on a Firm or
           Interruptible basis. "Buyer" refers to the party receiving Gas and "Seller" refers to the party delivering Gas. The entire agreement
           b etwe en th e parties
                              . s halibethe C ontract as d e fimed in S ' 29
                                                                      ectlon ..
             The parties have selected either the "Oral Transaction Procedure" or the "Written Transaction Procedure" as indicated
             on the Base Contract.
             Oral Transaction Procedure:
            1.2.        The parties will use the following Transaction Confirmation procedure. Any Gas purchase and sale transaction may
            be effectuated in an EDI transmission or telephone conversation with the offer and acceptance constituting the agreement of the
            parties. The parties shall be legally bound from the time they so agree to transaction terms and may each rely thereon. Any such
            transaction shall be considered a "writing" and to have been "signed". Notwithstanding the foregoing sentence, the parties agree
            that Confirming Party shall, and the other party may, confirm a telephonic transaction by sending the other party a Transaction
            Confirmation by facsimile, EDI or mutually agreeable electronic means within three Business Days of a transaction covered by
            this Section 1.2 (Oral Transaction Procedure) provided that the failure to send a Transaction Confirmation shall not invalidate the
            oral agreement of the parties. Confirming Party adopts its confirming letterhead, or the like, as its signature on any Transaction
            Confirmation as the identification and authentication of Confirming Party. If the Transaction Confirmation contains any provisions
            other than those relating to the commercial terms of the transaction (i.e., price, quantity, performance obligation, delivery point,
            period of delivery and/or transportation conditions), which modify or supplement the Base Contract or General Terms and
            Conditions of this Contract (e.g., arbitration or additional representations and warranties), such provisions shall not be deemed to
            be accepted pursuant to Section 1.3 but must be expressly agreed to by both parties; provided that the foregoing shall not
            invalidate any transaction agreed to by the parties.
            Written Transaction Procedure:
            1.2.   The parties will use the following Transaction Confirmation procedure. Should the parties come to an agreement regarding
            a Gas purchase and sale transaction for a particular Delivery Period, the Confirming Party shall, and the other party may, record
            that agreement on a Transaction Confirmation and communicate such Transaction Confirmation by facsimile, EDI or mutually
            agreeable electronic means, to the other party by the close of the Business Day following the date of agreement. The parties
            acknowledge that their agreement will not be binding until the exchange of nonconflicting Transaction Confirmations or the
            passage of the Confirm Deadline without objection from the receiving party, as provided in Section 1.3.
           1 .3.         If a sending party's Transaction Confirmation is materially different from the receiving party's understanding of the agreement
           referred to in Section 1.2, such receiving party shall notify the sending party via facsimile, EDI or mutually agreeable electronic means by
           the Confirm Deadline, unless such receiving party has previously sent a Transaction Confirmation to the sending party. The failure of the
           receiving party to so notify the sending party in writing by the Confirm Deadline constitutes the receiving party's agreement to the terms of
           the transaction described in the sending party's Transaction Confirmation. If there are any material differences between timely sent
           Transaction Confirmations goveming the same transaction, then neither Transaction Confirmation shall be binding until or unless such
           differences are resolved including the use of any evidence that clearly resolves the differences in the Transaction Confirmations. In the
           event of a conflict among the terms of (i) a binding Transaction Confirmation pursuant to Section 1.2, (ii) the oral agreement of the parties
           which may be evidenced by a recorded conversation, where the parties have selected the Oral Transaction Procedure ofthe Base Contract,
           (iii) the Base Contract, and (iv) these General Terms and Conditions, the terms of the documents shall govem in the priority listed in this
           sentence.
           1.4.        The parties agree that each party may electronically record all telephone conversations with respect to this Contract between
           their respective employees, without any special or further notice to the other party. Each party shall obtain any necessary consent of its
           agents and employees to such recording. Where the parties have selected the Oral Transaction Procedure in Section 1.2 of the Base
           Contract, the parties agree not to contest the validity or enforceability of telephonic recordings entered into in accordance with the
           requirements of this Base Contract.

           SECTION 2.                DEFINITIONS
           The terms set forth below shall have the meaning ascribed to them below. Other terms are also defined elsewhere in the Contract
           and shall have the meanings ascribed to them herein.
           2.1.       "Additional Event of Default" shall mean Transactional Cross Default or Indebtedness Cross Default, each as and if
           selected by the parties pursuant to the Base Contract.
           2.2.          "Affiliate" shall mean, in relation to any person, any entity controlled, directly or indirectly, by the person, any entity that controls,
           directly or indirectly, the person or any entity directly or indirectly under common control with the person. For this purpose, "control" of any entity
           or person means ownership of at least 50 percent of the voting power of the entity or person.
           2.3.        "Altemative Damages" shall mean such damages, expressed in dollars or dollars per MMBtu, as the parties shall agree upon in the
           Transaction Confirmation, in the event either Seller or Buyer fails to perform a Firm obligation to deliver Gas in the case of Seller or to receive
           Gas in the case of Buyer.
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           2.4.         "Base Contract" shall mean a contract executed by the parties that incorporates these General Terms and Conditions by reference;
           that specifies the agreed selections of provisions contained herein; and that sets forth other information required herein and any Special
           Provisions and addendum(s) as identified on page one.
           2.5.        "British thermal unit" or "Btu" shall mean the Intemational BTU, which is also called the Btu (IT).
           2.6.        "Business Day(s)" shall mean Monday through Friday, excluding Federal Banking Holidays for transactions in the U.S.
           2.7.        "Confirm Deadline" shall mean 5:00 p.m. in the receiving party's time zone on the second Business Day following the Day
           a Transaction Confirmation is received or, if applicable, on the Business Day agreed to by the parties in the Base Contract; provided,
           if the Transaction Confirmation is time stamped after 5:00 p.m. in the receiving party's time zone, it shall be deemed received at the
           opening of the next Business Day.
           2.8.         "Confirming Party" shall mean the party designated in the Base Contract to prepare and forward Transaction Confirmations to the
           other party.
           2.9.       "Contract" shall mean the legally-binding relationship established by (i) the Base Contract, (ii) any and all binding
           Transaction Confirmations and (iii) where the parties have selected the Oral Transaction Procedure in Section 1.2 of the Base
           Contract, any and all transactions that the parties have entered into through an EDI transmission or by telephone, but that have not
           been confirmed in a binding Transaction Confirmation, all of which shall form a Single integrated agreement between the parties.
           2.10.     "Contract Price" shall mean the amount expressed in U.S. Dollars per MMBtu to be paid by Buyer to Seller for the
           purchase of Gas as agreed to by the parties in a transaction.
           2.11.       "Contract Quantity" shall mean the quantity of Gas to be delivered and taken as agreed to by the parties in a transaction.
           2.12.       "Cover Standard", as referred to in Section 3.2, shall mean that if there is an unexcused failure to take or deliver any
           quantity of Gas pursuant to this Contract, then the performing party shall use commercially reasonable efforts to (i) if Buyer is the
           performing party, obtain Gas, (or an altemate fuel if elected by Buyer and replacement Gas is not available), or (ii) if Seller is the
           performing party, sell Gas, in either case, at a price reasonable for the delivery or production area, as applicable, consistent with:
           the amount of notice provided by the nonperforming party; the immediacy of the Buyer's Gas consumption needs or Seller's Gas
           sales requirements, as applicable; the quantities involved; and the anticipated length of failure by the nonperforming party.
           2.13.        "Credit Support Obligation(s)" shall mean any obligation(s) to provide or establish credit support for, or on behalf of, a
           party to this Contract such as cash, an irrevocable standby letter of credit, a margin agreement, a prepayment, a security interest in
           an asset, guaranty, or other good and sufficient security of a continuing nature.
           2.14.       "Day" shall mean a period of 24 consecutive hours, coextensive with a "day" as defined by the Receiving Transporter in
           a particular transaction.
           2.15.      "Delivery Period" shall be the period during which deliveries are to be made as agreed to by the parties in a transaction.
           2.16.      "Delivery Point(s)" shall mean such point(s) as are agreed to by the parties in a transaction.
           2.17.     "EDI" shall mean an electronic data interchange pursuant to an agreement entered into by the parties, specifically relating
           to the communication of Transaction Confirmations under this Contract.
           2.18.      "EFP" shall mean the purchase, sale or exchange of natural Gas as the "physical" side of an exchange for physical
           transaction involving gas futures contracts. EFP shall incorporate the meaning and remedies of "Firm", provided that a party's excuse
           for nonperformance of its obligations to deliver or receive Gas will be governed by the rules of the relevant futures exchange regulated
           under the Commodity Exchange Act.
           2.19.      "Firm" shall mean that either party may interrupt its performance without liability only to the extent that such performance
           is prevented for reasons of Force Majeure; provided, however, that during Force Majeure interruptions, the party invoking Force
           Majeure may be responsible for any Imbalance Charges as set forth in Section 4.3 related to its interruption after the nomination is
           made to the Transporter and until the change in deliveries and/or receipts is confirmed by the Transporter.
           2.20.    "Gas" shall mean any mixture of hydrocarbons and noncombustible gases in a gaseous state consisting primarily of
           methane.
           2.21.      "Guarantor" shall mean any entity that has provided a guaranty of the obligations of a party hereunder.
           2.22.        "Imbalance Charges" shall mean any fees, penalties, costs or charges (in cash or in kind) assessed by a Transporter for
           failure to satisfy the Transporter's balance and/or nomination requirements.
           2.23.       "Indebtedness Cross Default" shall mean if selected on the Base Contract by the parties with respect to a party, that it or
           its Guarantor, if any, experiences a default, or similar condition or event however therein defined, under one or more agreements or
           instruments, individually or collectively, relating to indebtedness (such indebtedness to include any obligation whether present or
           future, contingent or otherwise, as principal or surety or otherwise) for the payment or repayment of borrowed money in an aggregate
           amount greater than the threshold specified in the Base Contract with respect to such party or its Guarantor, if any, which results in
           such indebtedness becoming immediately due and payable.
           2.24.       "Interruptible" shall mean that either party may interrupt its performance at any time for any reason, whether or not caused
           by an event of Force Majeure, with no liability, except such interrupting party may be responsible for any Imbalance Charges as set
           forth in Section 4.3 related to its interruption after the nomination is made to the Transporter and until the change in deliveries and/or
           receipts is confirmed by Transporter.

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           2.25.        "MMBtu" shall mean one million British thermal units, which is equivalent to one dekatherm.
           2.26.   "Month" shall mean the period beginning on the first Day of the calendar month and ending immediately prior to the
           commencement of the first Day of the next calendar month.
           2.27.      "Payment Date" shall mean a date, as indicated on the Base Contract, on or before which payment is due Seller for Gas
           received by Buyer in the previous Month.
           2.28.      "Receiving Transporter" shall mean the Transporter receiving Gas at a Delivery Point, or absent such receiving
           Transporter, the Transporter delivering Gas at a Delivery Point.
           2.29.   "Scheduled Gas" shall mean the quantity of Gas confirmed by Transporter(s) for movement, transportation or
           management.
           2.30.     "Specified Transaction(s)" shall mean any other transaction or agreement between the parties for the purchase, sale or
           exchange of physical Gas, and any other transaction or agreement identified as a Specified Transaction under the Base Contract.
           2.31.       "Spot Price" as referred to in Section 3.2 shall mean the price listed in the publication indicated on the Base Contract,
           under the listing applicable to the geographic location closest in proximity to the Delivery Point(s) for the relevant Day; provided, if
           there is no single price published for such location for such Day, but there is published a range of prices, then the Spot Price shall
           be the average of such high and low prices. If no price or range of prices is published for such Day, then the Spot Price sha II be the
           average of the following: (i) the price (determined as stated above) for the first Day for which a price or range of prices is published
           that next precedes the relevant Day; and (ii) the price (determined as stated above) for the first Day for which a price or range of
           prices is published that next follows the relevant Day.
           2.32.     "Transaction Confirmation" shall mean a document, similarto the form of Exhibit A, setting forth the terms of a transaction
           formed pursuant to Section 1 for a particular Delivery Period.
           2.33.       "Transactional Cross Default" shall mean if selected on the Base Contract by the parties with respect to a party, that it
           shall be in default, however therein defined, under any Specified Transaction.
           2.34.       "Termination Option" shall mean the option of either party to terminate a transaction in the event that the other party fails to perform
           a Firm obligation to deliver Gas in the case of Seller or to receive Gas in the case of Buyer for a designated number of days during a period as
           specified on the applicable Transaction Confirmation.
           2.35.        ''Transporter(s)'' shall mean all Gas gathering or pipeline companies, or local distribution companies, acting in the capacity of a
           transporter, transporting Gas for Seller or Buyer upstream or downstream, respectively, ofthe Delivery Point pursuant to a particular transaction.

           SECTION 3.               PERFORMANCE OBLIGATION
           3.1.        Seller agrees to sell and deliver, and Buyer agrees to receive and purchase, the Contract Quantity for a particular transaction in
           accordance with the terms of the Contract. Sales and purchases will be on a Firm or Interruptible basis, as agreed to by the parties in a
           transaction
            The parties have selected either the "Cover Standard" or the "Spot Price Standard" as indicated on the Base Contract.
            Cover Standard:
            3.2.        The sole and exclusive remedy of the parties in the event of a breach of a Firm obligation to deliver or receive Gas
            shall be recovery of the following: (i) in the event of a breach by Seller on any Day(s), payment by Seller to Buyer in an amount
            equal to the positive difference, if any, between the purchase price paid by Buyer utilizing the Cover Standard and the Contract
            Price, adjusted for commercially reasonable differences in transportation costs to or from the Delivery Point(s), multiplied by the
            difference between the Contract Quantity and the quantity actually delivered by Seller for such Day(s) excluding any quantity for
            which no replacement is available; or (ii) in the event of a breach by Buyer on any Day(s), payment by Buyer to Seller in the
            amount equal to the positive difference, if any, between the Contract Price and the price received by Seller utilizing the Cover
            Standard for the resale of such Gas, adjusted for commercially reasonable differences in transportation costs to or from the
            Delivery Point(s), multiplied by the difference between the Contract Quantity and the quantity actually taken by Buyer for such
            Day(s) excluding any quantity for which no sale is available; and (iii) in the event that Buyer has used commercially reasonable
            efforts to replace the Gas or Seller has used commercially reasonable efforts to sell the Gas to a third party, and no such
            replacement or sale is available for all or any portion of the Contract Quantity of Gas, then in addition to (i) or (ii) above, as
            applicable, the sole and exclusive remedy of the performing party with respect to the Gas not replaced or sold shall be an amount
            equal to any unfavorable difference between the Contract Price and the Spot Price, adjusted for such transportation to the
            applicable Delivery Point, multiplied by the quantity of such Gas not replaced or sold. Imbalance Charges shall not be recovered
            under this Section 3.2, but Seller and/or Buyer shall be responsible for Imbalance Charges, if any, as provided in Section 4.3. The
            amount of such unfavorable difference shall be payable five Business Days after presentation of the performing party's invoice,
            which shall set forth the basis upon which such amount was calculated.
            Spot Price Standard:
            3.2.    The sole and exclusive remedy of the parties in the event of a breach of a Firm obligation to deliver or receive Gas shall
            be recovery of the following: (i) in the event of a breach by Seller on any Day(s), payment by Seller to Buyer in an amount equal
            to the difference between the Contract Quantity and the actual quantity delivered by Seller and received by Buyer for such Day(s),
            multiplied by the positive difference, if any, obtained by subtracting the Contract Price from the Spot Price; or (ii) in the event of a
            breach by Buyer on any Day(s), payment b...1' Buyer to Seller in an amount equal to the difference between the Contract Quantity

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             and the actual quantity delivered by Seller and received by Buyer for such Day(s), multiplied by the positive difference, if any,
             obtained by subtracting the applicable Spot Price from the Contract Price. Imbalance Charges shall not be recovered under this
             Section 3.2, but Seller and/or Buyer shall be responsible for Imbalance Charges, if any, as provided in Section 4.3. The amount
             of such unfavorable difference shall be payable five Business Days after presentation of the performing party's invoice, which
             shall set forth the basis upon which such amount was calculated.
           3.3.        Notwithstanding Section 3.2, the parties may agree to Altemative Damages in a Transaction Confirmation executed in
           writing by both parties.
           3.4.       In addition to Sections 3.2 and 3.3, the parties may provide for a Termination Option in a Transaction Confirmation
           executed in writing by both parties. The Transaction Confirmation containing the Termination Option will designate the length of
           nonperformance triggering the Termination Option and the procedures for exercise thereof, how damages for nonperformance will
           be compensated, and how liquidation costs will be calculated.

           SECTION 4.               TRANSPORTATION, NOMINATIONS, AND IMBALANCES
           4.1 .        Seller shall have the sole responsibility for transporting the Gas to the Delivery Point(s). Buyer shall have the sole responsibility for
           transporting the Gas from the Delivery Point(s).
           4.2.         The parties shall coordinate their nomination activities, giving sufficient time to meet the deadlines of the affected Transporter(s).
           Each party shall give the other party timely prior Notice, sufficient to meet the requirements of all Transporter(s) involved in the transaction, of
           the quantities of Gas to be delivered and purchased each Day. Should either party become aware that actual deliveries at the Delivery Point(s)
           are greater or lesser than the Scheduled Gas, such party shall promptly notify the other party.
           4.3.        The parties shall use commercially reasonable efforts to avoid imposition of any Imbalance Charges. If Buyer or Seller receives an
           invoice from a Transporter that includes Imbalance Charges, the parties shall determine the validity as well as the cause of such Imbalance
           Charges. If the Imbalance Charges were incurred as a result of Buyer's receipt of quantities of Gas greater than or less than the Scheduled
           Gas, then Buyer shall pay for such Imbalance Charges or reimburse Seller for such Imbalance Charges paid by Seller. If the Imbalance
           Charges were incurred as a result of Seller's delivery of quantities of Gas greater than or less than the Scheduled Gas, then Seller shall pay for
           such Imbalance Charges or reimburse Buyer for such Imbalance Charges paid by Buyer.

           SECTION 5.               QUALITY AND MEASUREMENT
           All Gas delivered by Seller shall meet the pressure, quality and heat content requirements of the Receiving Transporter. The unit of quantity
           measurement for purposes of this Contract shall be one MMBtu dry. Measurement of Gas quantities hereunder shall be in accordance with
           the established procedures of the Receiving Transporter.

           SECTION 6.               TAXES
            The parties have selected either "Buyer Pays At and After Delivery Poinf' or "Seller Pays Before and At Delivery Poinf' as
            indicated on the Base Contract.
            Buyer Pays At and After Delivery Point:
            Seller shall payor cause to be paid all taxes, fees, levies, penalties, licenses or charges imposed by any govemment authority ("Taxes")
            on or with respect to the Gas prior to the Delivery Point(s). Buyer shall payor cause to be paid all Taxes on or with respect to the Gas
            at the Delivery Point(s) and all Taxes after the Delivery Point(s). If a party is required to remit or pay Taxes that are the other party's
            responsibility hereunder, the party responsible for such Taxes shall promptly reimburse the other party for such Taxes. Any party entitled
            to an exemption from any such Taxes or charQes shall fumish the other party any necessary documentation thereof.
            Seller Pays Before and At Delivery Point:
            Seller shall payor cause to be paid all taxes, fees, levies, penalties, licenses or charges imposed by any govemment authority ("Taxes")
            on or with respect to the Gas prior to the Delivery Point(s) and all Taxes at the Delivery Point(s). Buyer shall payor cause to be paid all
            Taxes on or with respect to the Gas after the Delivery Point(s). If a party is required to remit or pay Taxes that are the other party's
            responsibility hereunder, the party responsible for such Taxes shall promptly reimburse the other party for such Taxes. Any party entitled
            to an exemption from any such Taxes or charges shall fumish the other party any necessary documentation thereof.

           SECTION 7.               BILLING, PAYMENT, AND AUDIT
           7.1 .         Seller shall invoice Buyer for Gas delivered and received in the preceding Month and for any other applicable charges, providing
           supporting documentation acceptable in industry practice to support the amount charged. If the actual quantity delivered is not known by the
           billing date, billing will be prepared based on the quantity of Scheduled Gas. The invoiced quantity will then be adjusted to the actual quantity
           on the following Month's billing or as soon thereafter as actual delivery information is available.
           7.2.        Buyer shall remit the amount due under Section 7.1 in the manner specified in the Base Contract, in immediately available funds,
           on or before the later of the Payment Date or 10 Days after receipt of the invoice by Buyer; provided that if the Payment Date is not a Business
           Day, payment is due on the next Business Day following that date. In the event any payments are due Buyer hereunder, payment to Buyer
           shall be made in accordance with this Section 7.2.
           7.3.       In the event payments become due pursuant to Sections 3.2 or 3.3, the performing party may submit an invoice to the
           nonperforming party for an accelerated payment setting forth the basis upon which the invoiced amount was calculated. Payment
           from the non performing party will be due five Business Days after receipt of invoice.

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           7.4.         If the invoiced party, in good faith, disputes the amount of any such invoice or any part thereof, such invoiced party will pay such
           amount as it concedes to be correct; provided, however, ifthe invoiced party disputes the amount due, it must provide supporting documentation
           acceptable in industry practice to support the amount paid or disputed without undue delay. In the event the parties are unable to resolve such
           dispute, either party may pursue any remedy available at law or in equity to enforce its rights pursuant to this Section.
           7.5.          If the invoiced party fails to remit the full amount payable when due, interest on the unpaid portion shall accrue from the date due
           until the date of payment at a rate equal to the lower of (i) the then-effective prime rate of interest published under "Money Rates" by The Wall
           Street Joumal, plus two percent per annum; or (ii) the maximum applicable lawful interest rate.
           7.6.          A party shall have the right, at its own expense, upon reasonable Notice and at reasonable times, to examine and audit and to
           obtain copies of the relevant portion of the books, records, and telephone recordings of the other party only to the extent reasonably necessary
           to verify the accuracy of any statement, charge, payment, or computation made under the Contract. This right to examine, audit, and to obtain
           copies shall not be available with respect to proprietary information not directly relevant to transactions under this Contract. All invoices and
           billings shall be conclusively presumed final and accurate and all associated claims for under- or overpayments shall be deemed waived unless
           such invoices or billings are objected to in writing, with adequate explanation and/or documentation, within two years after the Month of Gas
           delivery. All retroactive adjustments under Section 7 shall be paid in full by the party owing payment within 30 Days of Notice and substantiation
           of such inaccuracy.
           7.7.        Unless the parties have elected on the Base Contract not to make this Section 7.7 applicable to this Contract, the parties shall
           net all undisputed amounts due and owing, and/or past due, arising under the Contract such that the party owing the greater amount
           shall make a single payment of the net amount to the other party in accordance with Section 7; provided that no payment requi red
           to be made pursuant to the terms of any Credit Support Obligation or pursuant to Section 7.3 shall be subject to netting under this
           Section. If the parties have executed a separate netting agreement, the terms and conditions therein shall prevail to the extent
           inconsistent herewith.

           SECTION 8.               TITLE, WARRANTY, AND INDEMNITY
           8.1.       Unless otherwise specifically agreed, title to the Gas shall pass from Seller to Buyer at the Delivery Point(s). Seller shall
           have responsibility for and assume any liability with respect to the Gas prior to its delivery to Buyer at the specified Delivery Point(s).
           Buyer shall have responsibility for and assume any liability with respect to said Gas after its delivery to Buyer at the Delivery Point(s).
           8.2.       Seller warrants that it will have the right to convey and will transfer good and merchantable title to all Gas sold hereunder
           and delivered by it to Buyer, free and clear of all liens, encumbrances, and claims. EXCEPT AS PROVIDED IN THIS SECTION 8.2
           AND IN SECTION 15.8, ALL OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING ANY WARRANTY OF MERCHANTABILITY
           OR OF FITNESS FOR ANY PARTICULAR PURPOSE, ARE DISCLAIMED.
           8.3.        Seller agrees to indemnify Buyer and save it harmless from all losses, liabilities or claims including reasonable attorneys'
           fees and costs of court ("Claims"), from any and all persons, arising from or out of claims of title, personal injury (including death) or
           property damage from said Gas or other charges thereon which attach before title passes to Buyer. Buyer agrees to indemnify Seller
           and save it harmless from all Claims, from any and all persons, arising from or out of claims regarding payment, personal injury (including
           death) or property damage from said Gas or other charges thereon which attach after title passes to Buyer.
           804.       The parties agree that the delivery of and the transfer of title to all Gas under this Contract shall take place within the
           Customs Territory of the United States (as defined in general note 2 of the Harmonized Tariff Schedule of the United States 19 U.S.C.
           §1202, General Notes, page 3); provided, however, that in the event Seller took title to the Gas outside the Customs Territory of the
           United States, Seller represents and warrants that it is the importer of record for all Gas entered and delivered into the United States,
           and shall be responsible for entry and entry summary filings as well as the payment of duties, taxes and fees, if any, and all applicable
           record keeping requirements.
           8.5.         Notwithstanding the other provisions of this Section 8, as between Seller and Buyer, Seller will be liable for all Claims to the extent
           that such arise from the failure of Gas delivered by Seller to meet the quality requirements of Section 5.

           SECTION 9.               NOTICES
           9.1.       All Transaction Confirmations, invoices, payment instructions, and other communications made pursuant to the Base
           Contract ("Notices") shall be made to the addresses specified in writing by the respective parties from time to time.
           9.2.        All Notices required hereunder shall be in writing and may be sent by facsimile or mutually acceptable electronic means,
           a nationally recognized overnight courier service, first class mail or hand delivered.
           9.3.        Notice shall be given when received on a Business Day by the addressee. In the absence of proof of the actual receipt
           date, the following presumptions will apply. Notices sent by facsimile shall be deemed to have been received upon the sending
           party's receipt of its facsimile machine's confirmation of successful transmission. If the day on which such facsimile is received is
           not a Business Day or is after five p.m. on a Business Day, then such facsimile shall be deemed to have been received on the next
           following Business Day. Notice by overnight mail or courier shall be deemed to have been received on the next Business Day after
           it was sent or such earlier time as is confirmed by the receiving party. Notice via first class mail shall be considered delivered five
           Business Days after mailing.
           9 A.        The party receiving a commercially acceptable Notice of change in payment instructions or other payment information shall not
           be obligated to implement such change until ten Business Days after receipt of such Notice.



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           SECTION 10.              FINANCIAL RESPONSIBILITY
           10.1.       If either party ("X") has reasonable grounds for insecurity regarding the performance of any obligation under this Contract
           (whether or not then due) by the other party ("Y') (including, without limitation, the occurrence of a material change in the
           creditworthiness of Y or its Guarantor, if applicable), X may demand Adequate Assurance of Performance. "Adequate Assurance of
           Performance" shall mean sufficient security in the form, amount, for a term, and from an issuer, all as reasonably acceptable to X,
           including, but not limited to cash, a standby irrevocable letter of credit, a prepayment, a security interest in an asset or guaranty. Y
           hereby grants to X a continuing first priority security interest in, lien on, and right of setoff against all Adequate Assurance of
           Performance in the form of cash transferred by Y to X pursuant to this Section 10.1. Upon the retum by X to Y of such Adequate
           Assurance of Performance, the security interest and lien granted hereunder on that Adequate Assurance of Performance shall be
           released automatically and, to the extent possible, without any further action by either party.
           10.2.      In the event (each an "Event of Default") either party (the "Defaulting Party") or its Guarantor shall: (i) make an assignment
           or any general arrangement for the benefit of creditors; (ii) file a petition or otherwise commence, authorize, or acquiesce in the
           commencement of a proceeding or case under any bankruptcy or similar law for the protection of creditors or have such petition filed
           or proceeding commenced against it; (iii) otherwise become bankrupt or insolvent (however evidenced); (iv) be unable to pay its
           debts as they fall due; (v) have a receiver, provisional liquidator, conservator, custodian, trustee or other similar official appointed
           with respect to it or substantially all of its assets; (vi) fail to perform any obligation to the other party with respect to any Credit Support
           Obligations relating to the Contract; (vii) fail to give Adequate Assurance of Performance under Section 10.1 within 48 hours but at
           least one Business Day of a written request by the other party; (viii) not have paid any amount due the other party hereunder on or
           before the second Business Day following written Notice that such payment is due; or ix) be the affected party with respect to any
           Additional Event of Default; then the other party (the "Non-Defaulting Party") shall have the right, at its sole election, to immediately
           withhold and/or suspend deliveries or payments upon Notice and/or to terminate and liquidate the transactions under the Contract,
           in the manner provided in Section 10.3, in addition to any and all other remedies available hereunder.
           10.3.       If an Event of Default has occurred and is continuing, the Non-Defaulting Party shall have the right, by Notice to the
           Defaulting Party, to designate a Day, no earlier than the Day such Notice is given and no later than 20 Days after such Notice is
           given, as an early termination date (the "Early Termination Date") for the liquidation and termination pursuant to Section 10.3.1 of all
           transactions under the Contract, each a "Terminated Transaction". On the Early Termination Date, all transactions will terminate,
           other than those transactions, if any, that may not be liquidated and terminated under applicable law ("Excluded Transactions"),
           which Excluded Transactions must be liquidated and terminated as soon thereafter as is legally permissible, and upon termination
           shall be a Terminated Transaction and be valued consistent with Section 10.3.1 below. With respect to each Excluded Transaction,
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            The parties have selected either "Early Termination Damages Apply" or "Early Termination Damages Do Not Apply" as
            indicated on the Base Contract.
            Early Termination Damages Apply:
                 10.3.1. As of the Early Termination Date, the Non-Defaulting Party shall determine, in good faith and in a commercially
            reasonable manner, (i) the amount owed (whether or not then due) by each party with respect to all Gas delivered and received
            between the parties under Terminated Transactions and Excluded Transactions on and before the Early Termination Date and all
            other applicable charges relating to such deliveries and receipts (including without limitation any amounts owed under Section
            3.2), for which payment has not yet been made by the party that owes such payment under this Contract and (ii) the Market Value,
            as defined below, of each Terminated Transaction. The Non-Defaulting Party shall (x) liquidate and accelerate each Terminated
            Transaction at its Market Value, so that each amount equal to the difference between such Market Value and the Contract Value,
            as defined below, of such Terminated Transaction(s) shall be due to the Buyer under the Terminated Transaction(s) if such Market
            Value exceeds the Contract Value and to the Seller if the opposite is the case; and (y) where appropriate, discount each amount
            then due under clause (x) above to present value in a commercially reasonable manner as of the Early Termination Date (to take
            account of the period between the date of liquidation and the date on which such amount would have otherwise been due pursuant
            to the relevant Terminated Transactions).
            For purposes of this Section 10.3.1, "Contract Value" means the amount of Gas remaining to be delivered or purchased under a
            transaction multiplied by the Contract Price, and "Market Value" means the amount of Gas remaining to be delivered or purchased
            under a transaction multiplied by the market price for a similar transaction at the Delivery Point determined by the Non-Defaulting
            Party in a commercially reasonable manner. To ascertain the Market Value, the Non-Defaulting Party may consider, among other
            valuations, any or all of the settlement prices of NYMEX Gas futures contracts, quotations from leading dealers in energy swap
            contracts or physical gas trading markets, similar sales or purchases and any other bona fide third-party offers, all adjusted for
            the length of the term and differences in transportation costs. A party shall not be required to enter into a replacement
            transaction(s) in order to determine the Market Value. Any extension(s) of the term of a transaction to which parties are not bound
            as of the Early Termination Date (including but not limited to "evergreen provisions") shall not be considered in determining
            Contract Values and Market Values. For the avoidance of doubt, any option pursuant to which one party has the right to extend
            the term of a transaction shall be considered in determining Contract Values and Market Values. The rate of interest used in
            calculating net present value shall be determined by the Non-Defaultinq Party in a commercially reasonable manner.
            Early Termination DamaRes Do Not Apply:
                10.3.1. As of the Early Termination Date, the Non-Defaulting Party shall determine, in good faith and in a commercially
            reasonable manner, the amount owed (whether or not then due) by each party with respect to all Gas delivered and received
            between the parties under Terminated Transactions and Excluded Transactions on and before the Early Termination Date and all

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             other applicable charges relating to such deliveries and receipts (including without limitation any amounts owed under Section
             3.2), for which payment has not yet been made by the party that owes such payment under this Contract.
             The parties have selected either "Other Agreement Setoffs Apply" or "Other Agreement Setoffs Do Not Apply" as
             indicated on the Base Contract.
             Other Agreement Setoffs Apply:
             Bilateral Setoff Option:
                 10.3.2. The Non-Defaulting Party shall net or aggregate, as appropriate, any and all amounts owing between the parties
            under Section 10.3.1, so that all such amounts are netted or aggregated to a single liquidated amount payable by one party to the
            other (the "Net Settlement Amount"). At its sole option and without prior Notice to the Defaulting Party, the Non-Defaulting Party
            is hereby authorized to setoff any Net Settlement Amount against (i) any margin or other collateral held by a party in connection
            with any Credit Support Obligation relating to the Contract; and (ii) any amount(s) (including any excess cash margin or excess
            cash collateral) owed or held by the party that is entitled to the Net Settlement Amount under any other agreement or arrangement
            between the parties.
            Triangular Setoff Option:
                 10.3.2.     The Non-Defaulting Party shall net or aggregate, as appropriate, any and all amounts owing between the parties
            under Section 10.3.1, so that all such amounts are netted or aggregated to a single liquidated amount payable by one party to the
            other (the "Net Settlement Amount"). At its sole option, and without prior Notice to the Defaulting Party, the Non-Defaulting Party
            is hereby authorized to setoff (i) any Net Settlement Amount against any margin or other collateral held by a party in connection
            with any Credit Support Obligation relating to the Contract; (ii) any Net Settlement Amount against any amount(s) (including any
            excess cash margin or excess cash collateral) owed by or to a party under any other agreement or arrangement between the
            parties; (iii) any Net Settlement Amount owed to the Non-Defaulting Party against any amount(s) (including any excess cash
            margin or excess cash collateral) owed by the Non-Defaulting Party or its Affiliates to the Defaulting Party under any other
            agreement or arrangement; (iv) any Net Settlement Amount owed to the Defaulting Party against any amount(s) (including any
            excess cash margin or excess cash collateral) owed by the Defaulting Party to the Non-Defaulting Party or its Affiliates under any
            other agreement or arrangement; and/or (v) any Net Settlement Amount owed to the Defaulting Party against any amount(s)
            (including any excess cash margin or excess cash collateral) owed by the Defaulting Party or its Affiliates to the Non-Defaulting
            Party under any other agreement or arrangement.
            Other Agreement Setoffs Do Not Apply:
                 10.3.2. The Non-Defaulting Party shall net or aggregate, as appropriate, any and all amounts owing between the parties
            under Section 10.3.1, so that all such amounts are netted or aggregated to a single liquidated amount payable by one party to the
            other (the "Net Settlement Amount"). At its sole option and without prior Notice to the Defaulting Party, the Non-Defaulting Party
            may setoff any Net Settlement Amount against any margin or other collateral held by a party in connection with any Credit Support
            Obligation relating to the Contract.
                10.3.3. If any obligation that is to be included in any netting, aggregation or setoff pursuant to Section 10.3.2 is unascertained,
           the Non-Defaulting Party may in good faith estimate that obligation and net, aggregate or setoff, as applicable, in respect of the
           estimate, subject to the Non-Defaulting Party accounting to the Defaulting Party when the obligation is ascertained. Any amount not
           then due which is included in any netting, aggregation or setoff pursuant to Section 10.3.2 shall be discounted to net present value
           in a commercially reasonable manner determined by the Non-Defaulting Party.
           10.4.        As soon as practicable after a liquidation, Notice shall be given by the Non-Defaulting Party to the Defaulting Party of the
           Net Settlement Amount, and whether the Net Settlement Amount is due to or due from the Non-Defaulting Party. The Notice shall
           include a written statement explaining in reasonable detail the calculation of the Net Settlement Amount, provided that failure to give
           such Notice shall not affect the validity or enforceability of the liquidation or give rise to any claim by the Defaulting Party against the
           Non-Defaulting Party. The Net Settlement Amount as well as any setoffs applied against such amount pursuant to Section 10.3.2,
           shall be paid by the close of business on the second Business Day following such Notice, which date shall not be earlier than the
           Early Termination Date. Interest on any unpaid portion of the Net Settlement Amount as adjusted by setoffs, shall accrue from the date due
           until the date of payment at a rate equal to the lower of (i) the then-effective prime rate of interest published under "Money Rates" by The Wall
           Street Joumal, plus two percent per annum; or (ii) the maximum applicable lawful interest rate.
           10.5.     The parties agree that the transactions hereunder constitute a "forward contract" within the meaning of the United States
           Bankruptcy Code and that Buyer and Seller are each "forward contract merchants" within the meaning of the United States
           Bankruptcy Code.
           10.6.       The Non-Defaulting Party's remedies under this Section 10 are the sole and exclusive remedies of the Non-Defaulting
           Party with respect to the occurrence of any Early Termination Date. Each party reserves to itself all other rights, setoffs, counterclaims
           and other defenses that it is or may be entitled to arising from the Contract.
           10.7.       With respect to this Section 10, if the parties have executed a separate netting agreement with close-out netting
           provisions, the terms and conditions therein shall prevail to the extent inconsistent herewith.

           SECTION 11.              FORCE MAJEURE
           11.1.      Except with regard to a party's obligation to make payment(s) due under Section 7, Section 10.4, and Imbalance Charges
           under Section 4, neither party shall be liable to the other for failure to perform a Firm obligation, to the extent such failure was caused by

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            Force Majeure. The term "Force Majeure" as employed herein means any cause not reasonably within the control of the party claiming
            suspension, as further defined in Section 11.2.
           11.2.         Force Majeure shall include, but not be limited to, the following: (i) physical events such as acts of God, landslides,
           lightning, earthquakes, fires, storms or storm warnings, such as hurricanes, which result in evacuation of the affected area, floods,
           washouts, explosions, breakage or accident or necessity of repairs to rnachinery or equipment or lines of pipe; (ii) weather related
           events affecting an entire geographic region, such as low temperatures which cause freezing or failure of wells or lines of pipe;
           (iii) interruption and/or curtailment of Firm transportation and/or storage by Transporters; (iv) acts of others such as strikes, lockouts
           or other industrial disturbances, riots, sabotage, insurrections or wars, or acts of terror; and (v) governmental actions such as
           necessity for compliance with any court order, law, statute, ordinance, regulation, or policy having the effect of law promulgated by
           a governmental authority having jurisdiction. Seller and Buyer shall make reasonable efforts to avoid the adverse impacts of a Force
           Majeure and to resolve the event or occurrence once it has occurred in order to resume performance.
           11.3.        Neither party shall be entitled to the benefit of the provisions of Force Majeure to the extent performance is affected by
           any or all of the following circumstances: (i) the curtailment of interruptible or secondary Firm transportation unless primary, in-path,
           Firm transportation is also curtailed; (ii) the party claiming excuse failed to remedy the condition and to resume the performance of
           such covenants or obligations with reasonable dispatch; or (iii) economic hardship, to include, without limitation, Seller's ability to sell
           Gas at a higher or more advantageous price than the Contract Price, Buyer's ability to purchase Gas at a lower or more advantageous
           price than the Contract Price, or a regulatory agency disallowing, in whole or in part, the pass through of costs resulting from this Contract;
           (iv) the loss of Buyer's market(s) or Buyer's inability to use or resell Gas purchased hereunder, except, in either case, as provided in
           Section 11.2; or (v) the loss or failure of Seller's gas supply or depletion of reserves, except, in either case, as provided in Section 11.2.
           The party claiming Force Majeure shall not be excused from its responsibility for Imbalance Charges.
           11 .4.     Notwithstanding anything to the contrary herein, the parties agree that the settlement of strikes, lockouts or other industrial
           disturbances shall be within the sole discretion of the party experiencing such disturbance.
           11.5.       The party whose performance is prevented by Force Majeure must provide Notice to the other party. Initial Notice may
           be given orally; however, written Notice with reasonably full particulars of the event or occurrence is required as soon as reasonably
           possible. Upon providing written Notice of Force Majeure to the other party, the affected party will be relieved of its obligation, from the
           onset of the Force Majeure event, to make or accept delivery of Gas, as applicable, to the extent and for the duration of Force Majeure,
           and neither party shall be deemed to have failed in such obligations to the other during such occurrence or event.
           11.6.      Notwithstanding Sections 11.2 and 11.3, the parties may agree to alternative Force Majeure provisions in a Transaction
           Confirmation executed in writing by both parties.

           SECTION 12.             TERM
           This Contract may be terminated on 30 Day's written Notice, but shall remain in effect until the expiration of the latest Delivery Period of any
           transaction(s). The rights of either party pursuant to Section 7.6, Section 10, Section 13, the obligations to make payment hereunder, and
           the obligation of either party to indemnify the other, pursuant hereto shall survive the termination of the Base Contract or any transaction.

           SECTION 13.             LIMITATIONS
           FOR BREACH OF ANY PROVISION FOR WHICH AN EXPRESS REMEDY OR MEASURE OF DAMAGES IS PROVIDED, SUCH
           EXPRESS REMEDY OR MEASURE OF DAMAGES SHALL BE THE SOLE AND EXCLUSIVE REMEDY. A PARTY'S LIABILITY
           HEREUNDER SHALL BE LIMITED AS SET FORTH IN SUCH PROVISION, AND ALL OTHER REMEDIES OR DAMAGES AT LAW OR IN
           EQUITY ARE WAIVED. IF NO REMEDY OR MEASURE OF DAMAGES IS EXPRESSLY PROVIDED HEREIN OR IN A TRANSACTION,
           A PARTY'S LIABILITY SHALL BE LIMITED TO DIRECT ACTUAL DAMAGES ONLY. SUCH DIRECT ACTUAL DAMAGES SHALL BE THE
           SOLE AND EXCLUSIVE REMEDY, AND ALL OTHER REMEDIES OR DAMAGES AT LAW OR IN EQUITY ARE WAIVED. UNLESS
           EXPRESSLY HEREIN PROVIDED, NEITHER PARTY SHALL BE LIABLE FOR CONSEQUENTIAL, INCIDENTAL, PUNITIVE,
           EXEMPLARY OR INDIRECT DAMAGES, LOST PROFITS OR OTHER BUSINESS INTERRUPTION DAMAGES, BY STATUTE, IN TORT
           OR CONTRACT, UNDER ANY INDEMNITY PROVISION OR OTHERWISE. IT IS THE INTENT OF THE PARTIES THAT THE
           LIMITATIONS HEREIN IMPOSED ON REMEDIES AND THE MEASURE OF DAMAGES BE WITHOUT REGARD TO THE CAUSE OR
           CAUSES RELATED THERETO, INCLUDING THE NEGLIGENCE OF ANY PARTY, WHETHER SUCH NEGLIGENCE BE SOLE, JOINT
           OR CONCURRENT, OR ACTIVE OR PASSIVE. TO THE EXTENT ANY DAMAGES REQUIRED TO BE PAID HEREUNDER ARE
           LIQUIDATED, THE PARTIES ACKNOWLEDGE THAT THE DAMAGES ARE DIFFICULT OR IMPOSSIBLE TO DETERMINE, OR
           OTHERWISE OBTAINING AN ADEQUATE REMEDY IS INCONVENIENT AND THE DAMAGES CALCULATED HEREUNDER
           CONSTITUTE A REASONABLE APPROXIMATION OF THE HARM OR LOSS.




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           SECTION 14.               MARKET DISRUPTION
           If a Market Disruption Event has occurred then the parties shall negotiate in good faith to agree on a replacement price for the
           Floating Price (or on a method for determining a replacement price for the Floating Price) for the affected Day, and if the parties have
           not so agreed on or before the second Business Day following the affected Day then the replacement price for the Floating Price
           shall be determined within the next two following Business Days with each party obtaining, in good faith and from non-affiliated
           market participants in the relevant market, two quotes for prices of Gas for the affected Day of a similar quality and quantity in the
           geographical location closest in proximity to the Delivery Point and averaging the four quotes. If either party fails to provide two
           quotes then the average of the other party's two quotes shall determine the replacement price for the Floating Price. "Floating Price"
           means the price or a factor of the price agreed to in the transaction as being based upon a specified index. "Market Disruption Event"
           means, with respect to an index specified for a transaction, any of the following events: (a) the failure of the index to announce or
           publish information necessary for determining the Floating Price; (b) the failure of trading to commence or the permanent
           discontinuation or material suspension of trading on the exchange or market acting as the index; (c) the temporary or permanent
           discontinuance or unavailability of the index; (d) the temporary or permanent closing of any exchange acting as the index; or (e) both
           parties agree that a material change in the formula for or the method of determining the Floating Price has occurred. For the purposes
           of the calculation of a replacement price for the Floating Price, all numbers shall be rounded to three decimal places. If the fourth
           decimal number is five or greater, then the third decimal number shall be increased by one and if the fourth decimal number is less
           than five, then the third decimal number shall remain unchanged.

           SECTION 15.                 MISCELLANEOUS
           15.1.         This Contract shall be binding upon and inure to the benefit of the successors, assigns, personal representatives, and heirs of
           the respective parties hereto, and the covenants, conditions, rights and obligations of this Contract shall run for the full term of this Contract.
           No assignment of this Contract, in whole or in part, will be made without the prior written consent of the non-assigning party (and shall not
           relieve the assigning party from liability hereunder), which consent will not be unreasonably withheld or delayed; provided, either party may
           (i) transfer, sell, pledge, encumber, or assign this Contract or the accounts, revenues, or proceeds hereof in connection with any financing
           or other financial arrangements, or (ii) transfer its interest to any parent or Affiliate by assignment, merger or otherwise without the prior
           approval of the other party. Upon any such assignment, transfer and assumption, the transferor shall remain principally liable for and shall
           not be relieved of or discharged from any obligations hereunder.
           15.2.       If any provision in this Contract is determined to be invalid, void or unenforceable by any court having jurisdiction, such
           determination shall not invalidate, void, or make unenforceable any other provision, agreement or covenant of this Contract.
           15.3.       No waiver of any breach of this Contract shall be held to be a waiver of any other or subsequent breach.
           15.4.       This Contract sets forth all understandings between the parties respecting each transaction subject hereto, and any prior
           contracts, understandings and representations, whether oral or written, relating to such transactions are merged into and superseded by
           this Contract and any effective transaction(s). This Contract may be amended only by a writing executed by both parties.
           15.5.       The interpretation and performance of this Contract shall be governed by the laws of the jurisdiction as indicated on the Base
           Contract, excluding, however, any conflict of laws rule which would apply the law of another jurisdiction.
           15.6.     This Contract and all provisions herein will be subject to all applicable and valid statutes, rules, orders and regulations of any
           governmental authority having jurisdiction over the parties, their facilities, or Gas supply, this Contract or transaction or any provisions
           thereof.
           15.7.       There is no third party beneficiary to this Contract.
           15.8.       Each party to this Contract represents and warrants that it has full and complete authority to enter into and perform this Contract.
           Each person who executes this Contract on behalf of either party represents and warrants that it has full and complete authority to do so
           and that such party will be bound thereby.
           15.9.      The headings and subheadings contained in this Contract are used solely for convenience and do not constitute a part of this
           Contract between the parties and shall not be used to construe or interpret the proviSions of this Contract.
           15.10.        Unless the parties have elected on the Base Contract not to make this Section 15.10 applicable to this Contract, neither party
           shall disclose directly or indirectly without the prior written consent of the other party the terms of any transaction to a third party (other than
           the employees, lenders, royalty owners, counsel, accountants and other agents of the party, or prospective purchasers of all or substantially
           all of a party's assets or of any rights under this Contract, provided such persons shall have agreed to keep such terms confidential) except
           (i) in order to comply with any applicable law, order, regulation, or exchange rule, (ii) to the extent necessary for the enforcement of this
           Contract, (iii) to the extent necessary to implement any transaction, (iv) to the extent necessary to comply with a regulatory agency's
           reporting requirements including but not limited to gas cost recovery proceedings; or (v) to the extent such information is delivered to such
           third party for the sole purpose of calculating a published index. Each party shall notify the other party of any proceeding of which it is aware
           which may result in disclosure of the terms of any transaction (other than as permitted hereunder) and use reasonable efforts to prevent or
           limit the disclosure. The existence of this Contract is not subject to this confidentiality obligation. Subject to Section 13, the parties shall be
           entitled to all remedies available at law or in equity to enforce, or seek relief in connection with this confidentiality obligation. The terms of
           any transaction hereunder shall be kept confidential by the parties hereto for one year from the expiration of the transaction.
           In the event that disclosure is required by a governmental body or applicable law, the party subject to such requirement may disclose
           the material terms of this Contract to the extent so required, but shall promptly notify the other party, prior to disclosure, and shall
           cooperate (consistent with the disclosing party's legal obligations) with the other party's efforts to obtain protective orders or similar
           restraints with respect to such disclosure at the expense of the other party.
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           15.11.     The parties may agree to dispute resolution procedures in Special Provisions attached to the Base Contract or in a
           Transaction Confirmation executed in writing by both parties
           15.12.       Any original executed Base Contract, Transaction Confirmation or other related document may be digitally copied,
           photocopied, or stored on computer tapes and disks (the "Imaged Agreement"). The Imaged Agreement, if introduced as evidence
           on paper, the Transaction Confirmation, if introduced as evidence in automated facsimile form, the recording, if introduced as
           evidence in its original form, and all computer records of the foregoing, if introduced as evidence in printed format, in any judicial,
           arbitration, mediation or administrative proceedings will be admissible as between the parties to the same extent and under the same
           conditions as other business records originated and maintained in documentary form. Neither Party shall object to the admissibility
           of the recording, the Transaction Confirmation, or the Imaged Agreement on the basis that such were not originated or maintained
           in documentary form. However, nothing herein shall be construed as a waiver of any other objection to the admissibility of such evidence.




           DISCLAIMER: The purposes of this Contract are to fadlitate trade, avoid misunderstandings and make more definite the terms of contracts of purchase and
           sale of natural gas. Further, NAESB does not mandate the use of this Contract by any party. NAESB DISCLAIMS AND EXCLUDES, AND ANY USER OF
           THIS CONTRACT ACKNOWLEDGES AND AGREES TO NAESB'S DISCLAIMER OF, ANY AND ALL WARRANTIES, CONDITIONS OR
           REPRESENTATIONS, EXPRESS OR IMPLIED, ORAL OR WRITTEN, WITH RESPECT TO THIS CONTRACT OR ANY PART THEREOF, INCLUDING
           ANY AND ALL IMPLIED WARRANTIES OR CONDITIONS OF TITLE, NON-INFRINGEMENT, MERCHANTABILITY, OR FITNESS OR SUITABILITY FOR
           ANY PARTICULAR PURPOSE (WHETHER OR NOT NAESB KNOWS, HAS REASON TO KNOW, HAS BEEN ADVISED, OR IS OTHERWISE IN FACT
           AWARE OF ANY SUCH PURPOSE), WHETHER ALLEGED TO ARISE BY LAW, BY REASON OF CUSTOM OR USAGE IN THE TRADE, OR BY
           COURSE OF DEALING. EACH USER OF THIS CONTRACT ALSO AGREES THAT UNDER NO CIRCUMSTANCES WILL NAESB BE LIABLE FOR ANY
           DIRECT, SPECIAL, INCIDENTAL, EXEMPLARY, PUNITIVE OR CONSEQUENTIAL DAMAGES ARISING OUT OF ANY USE OF THIS CONTRACT.




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                                                                  TRANSACTION CONFIRMATION                                             EXHIBIT A
                                                                  FOR IMMEDIATE DELIVERY




                               Letterhead/Logo                                                  Date:                                   ,--
                                                                                                Transaction Confirmation #:


             This Transaction Confirmation is subject to the Base Contract between Seller and Buyer dated
             The terms of this Transaction Confirmation are binding unless disputed in writing within 2 Business Days of receipt unless
             otherwise specified in the Base Contract.

             SELLER:                                                               BUYER:



             Attn:                                                                Attn:
             Phone:                                                               Phone:
             Fax:                                                                 Fax:
             Base Contract No.                                                    Base Contract No.
             Transporter:                                                         Transporter:
             Transporter Contract Number:                                         Transporter Contract Number:


             Contract Price: $         /MMBtu or

             Delivery Period: Begin:                  ,                            End:             ,

             Performance Obligation and Contract Quantity: (Select One)


             Firm (Fixed Quantity):                                Firm (Variable Quantity):                        Interruptible:
                       MMBtus/day                                            MMBtus/day Minimum                     Up to _ _ _ MMBtus/day
                n EFP                                                        MMBtus/day Maximum
                                                                   subject to Section 4.2. at election of
                                                                   D Buyer or D Seller

             Delivery Point(s):
             (If a pooling point is used, list a specific geographic and pipeline location):

             Special Conditions:




             Seller:                                                              Buyer:

             By:                                                                  By:

             Title:                                                               Title:

             Date:                                                                Date:




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                                                         SPECIAL PROVISIONS to the
                                               Base Contract for Sale and Purchase of Natural Gas
                                                (NAESB Standard 6.3.1 dated September 5, 2006)

                                                                    Between
                                                Brazos Electric Power Cooperative, Inc. ("Party A")
                                                                       and
                                                    Mercuria Energy America, Inc. ("Party B")


                                                                  Dated August 19,2016.
                Brazos Electric Power Cooperative, Inc. ("Brazos") and Mercuria Energy America, Inc. ("Mercuria") hereby agree,
                effective the 19th day of August 2016, to amend, modify and supplement the NAESB Standard 6.3.1 Base Contract for
                Sale and Purchase of Natural Gas ("Base Contract") dated the same date between the parties hereto with the following
                special provisions ("Special Provisions"). All capitalized terms not otherwise defined herein shall have the meaning
                set forth in the Base Contract.

                    1.    The first sentence of the paragraph following the "Account Information" section on the cover sheet is revised by
                          inserting the phrase "(NAESB Standard 6.3.1)" immediately after the word "Gas", and insert the date "September 5,
                          2006" immediately after the word "published".

                    2.    Section 1.2 shall be amended by adding the clause "in writing" after the phrase "but must be expressly agreed to by
                          both parties" in the last sentence.

                    3.    Section 1.4 shall be amended by adding the following as a new last sentence: "However, nothing herein shall be
                          construed as a waiver of any objection to the admissibility of such evidence."

                    4.    The text of Section 2.6 shall be amended by deleting in its entirety and replacing with the following: ''''Business
                          Day(s)" shall mean Monday through Friday, excluding Federal Banking Holidays for transactions in the U.S., and
                          shall begin at 8:00 a.m. and end at 5:00 p.m. Central time, where Federal Banking Days is defined as any day not
                          observed by the Federal Reserve Board as a holiday."

                    5.    Section 2.10 shall be amended by adding the following sentence to the end of the section: "The Contract Price
                          includes reimbursement to Seller for any production or severance taxes owed by Seller with respect to Gas delivered
                          hereunder."

                    6.    Section 2.13 is amended by adding the following at the end thereof: "For the avoidance of doubt, the following also
                          shall be Credit Support Obligations under the Contract: the guaranty issued by Party B's Guarantor for the benefit
                          of Party A substantially in the form of Exhibit B attached hereto and made a part hereof."

                    7.    Section 3.4 shall be amended as follows: In the second sentence, immediately after the word "calculated" insert the
                          following: ", provided, however, if a Termination Option is not otherwise specified in a Transaction Confirmation, the
                          parties hereby agree that each party shall have, pursuant to this Section 3.4, a Termination Option for such
                          Transaction Confirmations and shall have (a) the right to exercise its Termination Option in the event of the
                          nonperformance by the other party for a period of five (5) consecutive Days for the specific transaction affected by
                          such nonperformance and (b) damages and liquidated costs calculated pursuant to Section 10 of the Base Contract,
                          as amended by the Special Provisions."

                    8.    Section 7.1 shall be amended by adding the following phrase after the word "Buyer" in the first sentence of the
                          section: "by the tenth (10th) of the Month".

                    9.    Section 7.2 is amended by inserting the following phrase at the beginning of the first sentence:
                          "Subject to the netting provisions in Section 7.7 of this Contract,"

                    10. Section 7.7 is hereby amended by inserting the following sentence at the end of the section: "Each party
                        acknowledges and agrees that (i) this Contract constitutes a "master netting agreement" and the parties are "master
                        netting agreement participants" as defined in the United States Bankruptcy Code and (ii) the parties are entitled to
                        all rights under, and protections afforded by, the United States Bankruptcy Code, including without limitation, those
                        contained in Sections 362, 546, 556, 561,562, 753 and 767."

                    11.   The text of Section 8.4 shall be amended by deleting in its entirety and replacing with "Reserved".



                                                                       Special Provisions
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                    12. A new Section 8.6 shall be inserted by adding the following:

                         "8.6. The parties represent and warrant to each other that to the extent Gas is sold or purchased under this Contract
                         and such Gas will be transported by an Energy Transfer company, an Atmos company, and/or other Texas intrastate
                         transporters ("Intrastate Transporters"), then such transportation will be undertaken pursuant to, and in full
                         compliance with, the warranty provisions of the agreements of Intrastate Transporters that prevent the imposition on
                         Intrastate Transporters of jurisdiction under the Natural Gas Act of 1938, as amended ("NGA"), except for NGA
                         Sections 4A and 23 or the application of any other NGA section, but only to the extent that such other section is used
                         to enforce or implement NGA Section 4A or 23. The parties represent and warrant to each other that if the Delivery
                         Point for Gas sold or purchased under this Contract is a point of interconnection between an interstate pipeline and
                         any gas pipeline facilities owned by Brazos Electric Power Cooperative, Inc., transportation of Gas to such Delivery
                         Point will be pursuant to Section 311 of the Natural Gas Policy Act. In addition to and without excluding any remedy
                         the aggrieved party may have at law or in equity, the party that breaches a warranty set forth in this Section 8.6 shall
                         (a) be liable to the aggrieved party for all damages, injuries, and reasonable expenses the aggrieved party may
                         sustain by reason of any breach hereof, and (b) indemnify the aggrieved party with respect to any liability the
                         aggrieved party may incur by reason of any breach hereof.

                   13. Section 9.2. shall be amended by adding the following language prior to the period at the end of the section: ";
                       provided, however, that any Notice delivered pursuant to Section 10.2, 10.3 or 10.4 shall not be delivered by
                       electronic means, and if any such Notice is delivered via facsimile, then a copy of such Notice shall also be sent via
                       overnight courier service, first class mail or hand delivery."

                   14. Section 10.1 shall be amended by adding the following sentence as the second sentence ofthe section: "Reasonable
                       grounds for insecurity shall also include, but not be limited to, the downgrade of V's or V's guarantor's senior
                       unsecured debt rating, if any, by either Standard & Poor's or Moody's, to a rating below an investment grade rating
                       (BBB- or Baa3, respectively)."

                   15. Section 10.1 shall be further modified by adding the following at the end of the section: "The parties recognize that
                       Brazos and its assets are subject to certain mortgages and other debt agreements, (collectively, the "Debt
                       Covenants") and in particular, nothing contained in the Contract shall be construed or deemed to require Brazos to
                       grant any security interest inconsistent with its obligations under the Debt Covenants. Brazos shall not be deemed
                       in breach of this Base Contract by virtue of its compliance with the requirements of its Debt Covenants. Nothing
                       contained in this Base Contract shall be construed or deemed to require Brazos to post cash as collateral if, instead,
                       it is able to provide a standby irrevocable letter of credit, or other form of security, in a form, amount and for a term
                       reasonably acceptable to the other party."

                   16. Section 10.2 is amended by:

                         a)        inserting "repudiate, withdraw or" immediately following "(vi)" in the sixth line; and

                         b)        deleting the word "or" before "(ix)" in the ninth line, and adding the following as new Sections 10.2(x) and
                                   10.2(xi), after the "Default;" in the tenth line:

                                   "(x) have made any representation or warranty which is false or misleading in any material respect
                                   when made or when deemed made or repeated; or (xi) breach the intrastate warranty set out in
                                   Section 8.6;"

                   17. Section 10.3 shall be amended by adding after the words "under applicable law" in the second sentence the following
                       "or that are, in the reasonable opinion of the Non-Defaulting Party, commercially impracticable to liquidate and
                       terminate" and deleting the words "legally permissible" and replacing them with "reasonably practicable".

                   18.    Section 10.3.2, "Other Agreement Setoffs Apply: Bilateral Setoff Option", shall be amended by deleting it in its
                         entirety and replacing it with the following:


                         "10.3.2. The Non-Defaulting Party shall net or aggregate, as appropriate, any and all amounts owing between the
                         parties under this Contract, so that all such amounts are netted or aggregated to a single liquidated amount payable
                         by one party to the other (the "Net Settlement Amount"). Upon the designation of an Early Termination Date, the
                         Non-Defaulting Party ("X") may, at its option and in its sole discretion, setoff any Net Settlement Amount (including
                         by setoff, offset, combination of accounts, deduction, retention, counterclaim or withholding), against (i) any margin
                         or other collateral held by a party in connection with any Credit Support Obligation relating to the Contract; (ii) any
                         amounts owed in U.S. Dollars by X to the Defaulting Party ("Y") under any other agreements between X and Y, and
                         (iii) any amounts owed in U.S. Dollars by Y to X under any other agreements between X and Y. The obligations of
                         Y and X under this Contract or such other agreements in respect of such amounts shall be deemed satisfied and
                         discharged to the extent of any such setoff. X will give Y Notice of any setoff effectuated under this Section 10.3.2.,
                         but failure to give such Notice shall not affect the validity of the setoff. Nothing herein shall be effective to create a
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                        charge or other security interest. This setoff provision shall be in addition to but without duplication of, and not in
                        limitation of, any other right or remedy available to the Non-Defaulting Party (including, without limitation, any right
                        of setoff, offset, combination of accounts, deduction, counterclaim, retention or withholding), whether arising under
                        this Contract, any guaranty, any other agreement, under applicable law, in equity, or otherwise."

                   19. Section 10.4 shall be amended by deleting in the third sentence the clause "The Net Settlement Amount as well as
                       any setoffs applied against such amount pursuant to Section 10.3.2," and inserting in its place the following clause:
                       "The Net Settlement Amount, as adjusted by any setoffs pursuant to Section 10.3.2,".

                   20. The A new Section 10.8 shall be inserted by adding the following:

                       "10.8 Upon request, each party shall deliver to the other party documentation reasonably requested to evidence the
                       authority and power of such party and/or its Guarantor, as the case may be, to enter into this Contract or any
                       guaranty, as the case may be, which may include, without limitation, a certification of the signature and authority of
                       the individual(s) executing this Contract or such guaranty, as the case may be and to the extent applicable and
                       requested certificates, documents or other evidence sufficient to confirm the sales tax exempt status of such party
                       for each jurisdiction in which the purchase, sale and/or delivery of any physical commodity takes place under this
                       Contract, such that the other party will bear no obligation in relation to such purchase, sale and/or delivery for
                       charging, collecting or remitting sales, use or other excise taxes to any local, municipal, state or federal taxing
                       authority or agency."

                   21. A new Section 10.9 shall be inserted by adding the following:

                       "10.9. Notwithstanding any provision to the contrary contained in the Contract, the Non-Defaulting Party shall not be
                       required to pay to the Defaulting Party any amount under this Section 10 until the Non-Defaulting Party receives
                       confirmation satisfactory to it in its reasonable discretion (which may include an opinion of its counsel) that all other
                       obligations of any kind whatsoever of the Defaulting Party to make any payments to the Non-Defaulting Party under
                       the Contract or otherwise have been fully and finally performed."

                   22. The text of Section 11.6 shall be amended by deleting in its entirety and replacing with "Reserved".

                   23. Section 12 shall be amended by adding the word "prior" immediately before the phrase "written Notice" in the first
                       sentence.

                   24. The text of Section 14 shall be amended by deleting in its entirety and replaced with the following:

                       "14.1.     Market Disruptions. If a Market Disruption Event occurs during a Determination Period, the Floating Price
                       for the affected Trading Day(s) shall be determined by reference to the Floating Price specified in the Transaction
                       Confirmation for the first Trading Day thereafter on which no Market Disruption Event exists; provided, however, if
                       the Floating Price is not so determined within three (3) Business Days after the first Trading Day on which the Market
                       Disruption Event occurred or existed, then the parties shall negotiate in good faith to agree on a Floating Price (or a
                       method for determining a Floating Price), and if the parties have not so agreed on or before the twelfth Business Day
                       following the first Trading Day on which the Market Disruption Event occurred or existed, then each party shall
                       reasonably and in good faith obtain a calculation of the relevant Floating Price from a Reference Market-maker, and
                       the Floating Price shall be the average of the two calculations.

                            "Determination Period" means each calendar month a part or all of which is within the Delivery Period of a
                            Transaction Confirmation.

                            "Exchange" means, in respect of a Transaction Confirmation, the exchange or principal trading market specified
                            in the relevant Transaction Confirmation.

                            "Floating Price" means the Contract Price specified in a Transaction Confirmation that is based upon a Price
                            Source.

                            "Market Disruption Event" means, with respect to any Price Source, any of the following events: (a) the failure
                            of the Price Source to announce or publish the specified Floating Price or information necessary for determining
                            the Floating Price; (b) the failure of trading to commence or the permanent discontinuation or material
                            suspension of trading in the relevant options contract or commodity on the Exchange or in the market specified
                            for determining a Floating Price; (c) the temporary or permanent discontinuance or unavailability of the Price
                            Source; (d) the temporary or permanent closing of any Exchange specified for determining a Floating Price; or
                            (e) a material change in the formula for or the method of determining the Floating Price.

                            "Price Source" means, in respect of a Transaction Confirmation, the publication (or such other origin of
                            reference, including an Exchange) containing (or reporting) the specified price (or prices from which the
                            specified price is calculated) specified in the relevant Transaction Confirmation.


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                             "Reference Market-maker" means a leading dealer in the relevant market selected by a party in good faith from
                             among dealers of the highest credit standing which satisfy all the criteria that such party applies generally at the
                             time in deciding whether to offer or to make an extension of credit.

                              ''Trading Day" means a day in respect of which the relevant Price Source published the relevant Floating Price
                             information.

                        14.2.      Corrections to Published Prices. For purposes of determining the relevant price for any day, if the price
                        published or announced on a given day and used or to be used to determine a relevant price is subsequently
                        corrected and the correction is published or announced by the person responsible for that publication or
                        announcement within one hundred eighty (180) days of the original publication or announcement, either party may
                        notify the other party, not later than sixty (60) days after publication or announcement, of (i) that correction and (ii)the
                        amount (if any) that is payable as a result of that correction. If a party gives notice that an amount is so payable, the
                        party that originally either received or retained such amount will, not later than three (3) Business Days after the
                        effectiveness of that notice, pay, subject to any applicable conditions precedent, to the other party that amount,
                        together with interest at the interest rate calculated in accordance with Section 7.5 for the period from and including
                        the day on which payment originally was (or was not) made to but excluding the day of payment of the refund or
                        payment resulting from that correction.

                        14.3.      Calculation of Floating Price. For the purposes of the calculation of a Floating Price, all numbers shall be
                        rounded to three (3) decimal places. If the fourth (4th) decimal number is five (5) or greater, then the third (3rd)
                        decimal number shall be increased by one (1), and if the fourth (4th) decimal number is less than five (5), then the
                        third (3rd) decimal number shall remain unchanged."

                   25. Section 15.3 shall be amended by deleting in its entirety and replacing it with the following: "15.3 No waiver of any
                       breach of this Contract, or delay, failure or refusal to exercise or enforce any rights under this Contract, shall be held
                       to be a waiver of any other or subsequent breach, or be construed as a waiver of any such right then existing or
                       arising in the future."

                   26. Section 15.5 is hereby amended by the deletion thereof and the substitution of the following provisions therefor:
                       "This Base Contract, all transactions and Transaction Confirmations and the rights and duties of the parties arising
                       therefrom shall be governed by, interpreted and construed in accordance with the laws of the State of Texas (without
                       reference to its choice of law doctrine). With respect to any suit, action or proceedings relating to the foregoing
                       ("Proceedings") each party irrevocably submits to the non-exclusive jurisdiction of the federal and state courts located
                       in McLennan County, Waco, Texas, waives any objection which it may have to the laying of venue of any
                       Proceedings brought in any such court, and waives any claim that any such Proceedings have been brought in an
                       inconvenient forum. EACH PARTY HEREBY IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY
                       JURY IN ANY SUIT, ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO THIS BASE CONTRACT
                       OR ANY TRANSACTION AND ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO THE
                       OTHER PARTY'S ENTERING INTO THIS BASE CONTRACT.

                   27. Section 15.8 is hereby amended by inserting at the end thereof the following:

                       "Each party will be deemed to represent to the other party on the date on which it enters into a Transaction
                       Confirmation that (absent a written agreement between the parties that expressly imposes affirmative obligations to
                       the contrary for that Transaction Confirmation):

                       (i)       Non-Reliance. It is acting for its own account, and it has made its own independent decisions to enter into
                       that Transaction Confirmation and as to whether that Transaction Confirmation is appropriate or proper for it based
                       upon its own judgment and upon advice from such advisers as it has deemed necessary. It is not relying on any
                       communication (written or oral) of the other party as a recommendation to enter into that Transaction Confirmation;
                       it being understood that information and explanations related to the terms and conditions of a Transaction
                       Confirmation shall not be considered a recommendation to enter into that Transaction Confirmation. No
                       communication (written or oral) received from the other party shall be deemed to be an assurance or guarantee as
                       to the expected results of that Transaction Confirmation.

                       (ii)      Assessment and Understanding. It is capable of assessing the merits of and understanding (on its own
                       behalf or through independent professional advice), and understands and accepts the terms, conditions and risks of
                       that Transaction Confirmation. It is also capable of assuming, and assumes, the risks of that Transaction
                       Confirmation.

                       (iii)     Status of Parties. The other party is not acting as a fiduciary for or an adviser to it in respect of that
                       Transaction Confirmation. Each party understands and acknowledges that the other party may, either in connection
                       with entering into that Transaction Confirmation or from time to time thereafter, engage in open market transactions
                       that are designed to hedge or reduce the risks incurred by it in connection with such Transaction Confirmation and
                       that the effect of such open market transactions may be to affect or reduce the value of such transaction.


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                        (iv)      Eligible Contract Participant. Each party represents to the other (which representation will be deemed to
                        be repeated by each party on the date on which a Transaction Confirmation is entered into) that it is an "eligible
                        contract participant" as defined in Sections 1a(18) of the Commodity Exchange Act, as amended.

                   28. Section 15.10 shall be amended by striking the word "or" in the seventh line and adding the following after the word
                       "index" prior to the period: "(vi) information that is or becomes generally available to the public other than as a result
                       of a disclosure by the receiving party, (vii) information that was already in a party's files on a nonconfidential basis
                       prior to disclosure, or (viii) information that becomes available to a party on a nonconfidential basis from a source
                       other than the other party if such source was not known by such party to be subject to any confidentiality obligation."

                   29. The text of Section 15.11 shall be amended by deleting in its entirety and replacing it with "Reserved".

                   30. Section 15.12 is amended by replacing the second to last sentence with "Neither party shall object to the admissibility
                       of a recording, the Transaction Confirmation, or the Imaged Agreement (or photocopies of the transcription of the
                       recording, the Transaction Confirmation or the Imaged Agreement) on the basis that such were not originated or
                       maintained in documentary form under the hearsay rule, the best evidence rule or other similar rules of evidence."

                   31. A new Section 15.13 shall be amended by adding the following:

                       "15.13. This Contract shall be considered for all purposes as prepared through the joint efforts of the parties and
                       shall not be construed against one party or the other as a result of the manner in which this Contract was negotiated,
                       prepared, drafted or executed."


                   32. A new Section 16 shall be inserted by adding the following:

                       "SECTION 16. RESOLUTION OF DISPUTES

                       16.1. Resolution of Disputes. Any dispute ("Dispute") arising under this Contract shall be referred for resolution to a
                       senior representative of each party, where such senior representative has the authority to resolve such Dispute.
                       Upon receipt of a notice describing the Dispute and designating the notifying party's senior representative and that
                       the Dispute is to be resolved by the parties' senior representatives under this Contract, the other party shall promptly
                       deSignate its senior representative to the notifying party. The senior representatives so designated shall attempt to
                       resolve the Dispute on an informal basis as promptly as practicable. If the Dispute has not been resolved within
                       thirty (30) days after the notifying party's notice was received by the other party, or within such other period as the
                       parties may jointly agree, the parties may mutually agree to submit the Dispute to arbitration in accordance with the
                       arbitration procedure set forth in Section 16.2. In the event the parties are unable to mutually agree to submit the
                       Dispute to the arbitration procedure in Section 16.2, either party may pursue any remedy available at law or in equity
                       to enforce its rights provided in the Contract.

                       16.2. Arbitration. Any Dispute arising out of this Contract may be submitted, upon mutual agreement of the parties,
                       to binding arbitration by one arbitrator who has not previously been employed by either party, is qualified by education
                       or experience to decide the matters relating to the questions in dispute, and does not have a direct or indirect interest
                       in either party or the subject matter of the arbitration. Such arbitrator shall either be as mutually agreed by the parties
                       within thirty (30) days after the parties have mutually agreed to submit the Dispute to binding arbitration, or failing
                       agreement to select an arbitrator, shall be selected under the Commercial Arbitration Rules of the American
                       Arbitration Association ("AAA").       Unless otherwise agreed to by the Parties, all arbitration hearings will be held in
                       either Waco, Texas or Houston, Texas, as follows: all arbitration proceedings initiated by the Parties hereunder shall
                       be numbered consecutively (e.g., Arbitration #1, Arbitration #2, etc.); all hearings for the odd-numbered arbitration
                       proceedings initiated by the Parties shall be held in Waco, Texas; all hearings for even-numbered arbitration
                       proceedings initiated by the parties shall be held in Houston, Texas. The Commercial Arbitration Rules of the AAA
                       shall apply to the extent not inconsistent with the arbitration provisions specified as follows: (A) Either party may
                       propose binding arbitration by written notice to the other party; (8) If the parties mutually agree to submit a dispute
                       to binding arbitration, the arbitration shall be conducted according to the following: (i) the hearing shall be conducted
                       on a confidential basis; (ii) at the conclusion of the hearing, each party will present one suggested resolution to the
                       arbitrator; (iii) the arbitrator may only select either party's suggested resolution; (iv) the arbitrator shall issue a
                       confidential written opinion containing his or her decision; (v) each party shall be responsible for 50% of the cost of
                       the arbitrator and the hearing and each party shall be responsible for its own expenses and those of its counsel and
                       representatives; and (iv) any offer made or the details of any negotiation regarding the dispute prior to arbitration
                       and the cost to the parties of their representatives and counsel shall not be admissible. Any monetary award of the
                       arbitrator may be enforced in any court of competent jurisdiction by the party in whose favor such monetary award
                       is made. The arbitrator is not empowered to and shall not award any type of damages except those described in
                       Section 13."

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                  IN WITNESS WHEREOF, the parties hereto agree to the terms and conditions set forth herein and have executed
                  these Special Provisions in duplicate as of the date shown on Page 1.


                                                                                      MERCURIA ENERGY AMERICA, INC.


                                                                                              ~ ,,(d"
                   By:
                                 mo                 'ff®
                                 ice President and General   ~~ Date:
                                                                                      By:
                                                                                      Name:   Michael Kenneay
                                                                                      TitleHead of Physical Natural Gas
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                                                     CONFIDENTIAL AND PROPRIETARY INFORMATION OF MERCURIA ENERGY AMERICA, LLC
        Setlement for February                          Mercuria              External                                                                                        Quantity
        2021                       Transaction #       Legal Entity         Legal Entity      Trade Date    Buy/Sell   Delivery Start   Delivery End   Product Type   UOM     Delivered
        Settlement Value for
        3/25/21 Pymt                                         MEA        BRAZOS ELE POW - LE
                                     14667784                MEA        BRAZOS ELE POW - LE   29-Jan-2021     Sell      01-Feb-2021     01-Feb-2021        Firm       MMBtu       15,000
        20 Days pre-
        Bankruptcy                                           MEA        BRAZOS ELE POW - LE
                                     14710582                MEA        BRAZOS ELE POW - LE   08-Feb-2021     Sell      09-Feb-2021     09-Feb-2021        Firm       MMBtu        8,000
                                     14717292                MEA        BRAZOS ELE POW - LE   09-Feb-2021     Sell      09-Feb-2021     09-Feb-2021        Firm       MMBtu       15,000
                                     14717405                MEA        BRAZOS ELE POW - LE   09-Feb-2021     Sell      10-Feb-2021     10-Feb-2021        Firm       MMBtu       25,000
                                     14717424                MEA        BRAZOS ELE POW - LE   09-Feb-2021     Sell      10-Feb-2021     10-Feb-2021        Firm       MMBtu        5,000
                                     14719159                MEA        BRAZOS ELE POW - LE   09-Feb-2021     Sell      09-Feb-2021     09-Feb-2021        Firm       MMBtu       12,000
                                     14723711                MEA        BRAZOS ELE POW - LE   10-Feb-2021     Sell      11-Feb-2021     11-Feb-2021        Firm       MMBtu       10,000
                                     14723722                MEA        BRAZOS ELE POW - LE   10-Feb-2021     Sell      11-Feb-2021     11-Feb-2021        Firm       MMBtu       30,000
                                     14723733                MEA        BRAZOS ELE POW - LE   10-Feb-2021     Sell      11-Feb-2021     11-Feb-2021        Firm       MMBtu       17,000
                                     14724175                MEA        BRAZOS ELE POW - LE   10-Feb-2021     Sell      10-Feb-2021     10-Feb-2021        Firm       MMBtu       15,000
                                     14729460                MEA        BRAZOS ELE POW - LE   11-Feb-2021     Sell      12-Feb-2021     12-Feb-2021        Firm       MMBtu       35,000
                                     14729468                MEA        BRAZOS ELE POW - LE   11-Feb-2021     Sell      12-Feb-2021     12-Feb-2021        Firm       MMBtu       15,000
                                     14729550                MEA        BRAZOS ELE POW - LE   11-Feb-2021     Sell      12-Feb-2021     12-Feb-2021        Firm       MMBtu       12,500
                                     14734090                MEA        BRAZOS ELE POW - LE   12-Feb-2021     Sell      13-Feb-2021     16-Feb-2021        Firm       MMBtu       13,675
                                     14734888                MEA        BRAZOS ELE POW - LE   12-Feb-2021     Sell      12-Feb-2021     12-Feb-2021        Firm       MMBtu       81,000
                                     14744059                MEA        BRAZOS ELE POW - LE   16-Feb-2021     Sell      17-Feb-2021     17-Feb-2021        Firm       MMBtu       11,875
                                     14745028                MEA        BRAZOS ELE POW - LE   16-Feb-2021     Sell      17-Feb-2021     17-Feb-2021        Firm       MMBtu       10,000
                                     14745461                MEA        BRAZOS ELE POW - LE   16-Feb-2021     Sell      17-Feb-2021     17-Feb-2021        Firm       MMBtu       17,500
                                     14758589                MEA        BRAZOS ELE POW - LE   19-Feb-2021     Sell      20-Feb-2021     22-Feb-2021        Firm       MMBtu       31,000
                                     14768967                MEA        BRAZOS ELE POW - LE   22-Feb-2021     Sell      22-Feb-2021     22-Feb-2021        Firm       MMBtu       15,000
                                     14797266                MEA        BRAZOS ELE POW - LE   25-Feb-2021     Sell      26-Feb-2021     26-Feb-2021        Firm       MMBtu       15,000
                                     14812286                MEA        BRAZOS ELE POW - LE   01-Mar-2021     Buy       21-Feb-2021     21-Feb-2021        Firm       MMBtu       (9,750)
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                                                        CONFIDENTIAL AND PROPRIETARY INFORMATION OF MERCURIA ENERGY AMERICA, LLC
                           Current           Party
           Price        Settle Amount        Agreement

                            61,177,852.50
              2.675             40,125.00       NAESB

                            61,137,727.50
              3.23              25,840.00       NAESB
              3.85              57,750.00       NAESB
               3.4              85,000.00       NAESB
              3.25              16,250.00       NAESB
               3.9              46,800.00       NAESB
               6.3              63,000.00       NAESB
             4.225             126,750.00       NAESB
              5.21              88,570.00       NAESB
              5.95              89,250.00       NAESB
                27             945,000.00       NAESB
                29             435,000.00       NAESB
            22.395             279,937.50       NAESB
             250.4          13,696,880.00       NAESB
               140          11,340,000.00       NAESB
               950          11,281,250.00       NAESB
               775           7,750,000.00       NAESB
               710          12,425,000.00       NAESB
                25           2,325,000.00       NAESB
              2.87              43,050.00       NAESB
              2.85              42,750.00       NAESB
               2.6             (25,350.00)      NAESB
